     Case 1:16-cr-00093-LJO-SKO Document 137 Filed 07/31/17 Page 1 of 2


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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                          No. 1:16-CR-00093-LJO-SKO

12                                     Plaintiff,        FINAL ORDER OF FORFEITURE

13             v.

14    ANGELICA MORENO-VELASQUEZ,

15                                     Defendant.

16

17             WHEREAS, on May 17, 2017, the Court entered a Preliminary Order of Forfeiture,

18    forfeiting to the United States all right, title, and interest of defendant Angelica Moreno-

19    Velasquez in the following property:

20             Items seized pursuant to search warrant 1:16-SW-00152-SAB from 4035 Illinois
               Avenue, Fresno, California:
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                        a.   Samsungcellular telephone,
22                      b.   Samsung Galaxy S6 cellular telephone,
                        c.   Apple iPhone 6,
23                      d.   LG cellular telephone,
                        e.   Nikon Cool Pix digital camera,
24                      f.   Cannon scanner,
                        g.   Cannon printer,
25                      h.   Micro-SD and memory cards, and
                        i.   Miscellaneous documents.
26
27             AND WHEREAS, beginning on May 23, 2017, for at least 30 consecutive days, the

28    United States published notice of the Court’s Order of Forfeiture on the official internet
     FINAL ORDER OF FORFEITURE                          1
     Case 1:16-cr-00093-LJO-SKO Document 137 Filed 07/31/17 Page 2 of 2


 1    government forfeiture site www.forfeiture.gov. Said published notice advised all third parties of

 2    their right to petition the Court within sixty (60) days from the first day of publication of the

 3    notice for a hearing to adjudicate the validity of their alleged legal interest in the forfeited

 4    property;

 5             AND WHEREAS, the Court has been advised that no third party has filed a claim to the

 6    subject property, and the time for any person or entity to file a claim has expired.

 7             Accordingly, it is hereby ORDERED and ADJUDGED:

 8             1.       A Final Order of Forfeiture is hereby entered forfeiting to the United States of

 9    America all right, title, and interest in the above-listed property pursuant to 18 U.S.C. §

10    981(a)(1)(C) and 28 U.S.C. § 2461(c), to be disposed of according to law, including all right,

11    title, and interest of Angelica Moreno-Velasquez.

12             2.       All right, title, and interest in the above-listed property shall vest solely in the

13    name of the United States of America.

14             3.       The Department of Homeland Security, Customs and Border Protection shall

15    maintain custody of and control over the subject property until it is disposed of according to

16    law.

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      IT IS SO ORDERED.
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19        Dated:       July 28, 2017                             /s/ Lawrence J. O’Neill _____
                                                        UNITED STATES CHIEF DISTRICT JUDGE
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     FINAL ORDER OF FORFEITURE                              2
